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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig        *                 MDL Np. 2179
   “Deepwater Horizon” in the Gulf     *
   of Mexico, on April 20, 2010.       *                 SECTION J
                                       *
                                       *                 JUDGE BARBIER
This Document Applies to: 11-1773      *
                                       *                 MAGISTRATE JUDGE
                                       *                 SHUSHAN
_______________________________________/

                   ORDER ON MOTION FOR LEAVE TO WITHDRAW

   This cause coming before the Court on Plaintiff’s Stipulation for Withdrawal of Counsel, and

the Court having considered the same, is of the opinion that the same should be, and is hereby

GRANTED.

   It is therefore ORDERED and ADJUDGED as follows:

   1. James F. McKenzie, Esquire is hereby granted leave to withdraw as attorney for Gary R.

        Goodwin d/b/a JAMIE G and OWNER OF THE MV JAMIE G;

   2. James F. McKenzie, Esquire, shall retain a lien for costs expended in this case; ;and,

   3. Gary R. Goodwin d/b/a JAMIE G and OWNER OF THE MV JAMIE G; is hereby

        granted sixty (60) days from the date of this Order to obtain new counsel or prepare to

        proceed pro se.

   Done in chambers, at New Orleans, Louisiana, this _______ day of ___________________,

2012.



                                                 _______________________________________
                                                 CARL J. BARBIER, District Judge
